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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                    NO. 4:07CR00142-02 JLH

STEPHANIE TAGGART


                                             ORDER

       GENE E. MCKISSIC, counsel for defendant Stephanie Taggart, is hereby authorized to bring

a cell phone, laptop computer, or personal digital assistant into the courthouse between July 28,

2008, and July 30, 2008, subject to the following rules:

       (a)     The devices mentioned above may not be used to record, photograph, or film anyone

               or anything inside the courthouse.

       (b)     Cell phones must be turned off and put away when in the courtroom.

       (c)     Wireless internet components of electronic devices must be deactivated when in

               district courtrooms.

       (d)     Before persons with electronic devices are granted entry into the courthouse, all

               devices must be examined by the United States Marshals Service or Court Security

               Personnel. This examination includes, but is not limited to placing the device

               through electronic screening machines and requiring the person possessing the device

               to turn the power to the device off and on.

       (e)     The United States Marshals Service may further restrict electronic devices from

               entering the building should a threat assessment so dictate.
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       A violation of paragraph (a), (b), or (c) may result in seizure of the electronic device,

withdrawal of the privilege to bring an electronic device into the courthouse, or other sanctions. A

violation of the prohibition on recording, photographing, or filming anyone or anything inside the

courthouse may be punished as contempt of court.

       SIGNED this 23rd day of July, 2008.




                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE




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